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Omar Qazi
N.S.D.C.
2190 E. Mesquite Ave.

Pahrump, Nevada

 

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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

UNITED STATES OF AMERICA
Persecutor,
vs.
Omar Qazi
Accused.

 

 

 

 

Certif`lcation: This Objection is being filed timely.

COMES NOW, Omar Qazi, Sui Juris, by Special Appearance, hereby files this Objection to 406 Order.

**i¢

Case No. 2:15-cr-00014-APG-VCF

Objection to 406 Order

For the reasons outlined in the attached Memorandum of Points and Authorities, I request that this

Honorable Court enter an order granting this Objection to Substitute Stand-by Counsel.

 

 

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MEMORANDUM OF POINTS AND AUTHORITIES

At the hearing conducted on March 13, 2018, I argued that Stand-by counsel Telia Williams has
not spoken with me since November 09, 2017. The magistrate did not address the arguments in my
motion in regards to the legal authority of McKaskle v. Wiggins, 465 U.S. 168, 176, 104 S. Ct. 944, 79 L.
Ed. 2D 122 (1984), where the U.S. Supreme Court held that the court may "appoint a 'standby counsel'
to aid the accused if and when the accused requests help, and to be available to represent the accused
in the event that termination of the defendant's self-representation is necessary."

The magistrate also did not address the arguments in my motion in regards to the legal authority
of Um'ted States v. Dougherly, 473 F.2d 1113, 154 U.S. App. D.C.v 76 (D.C. Cir. 1972) (holding "The
energy and time toll on the trial judge, as fairness calls him to articulate ground rules and reasons that
need not be explained to an experienced trial counsel, can be relieved, at least in part, by appointment of
an amicus curiae to assist the defendant If defendant refrains from intentionally obstructive tactics,
amicus would be available to provide advice on procedure and strategv.") Dougherly, 473 F.2d at
1124 -25.

The`magistrate simply ignored all the factual arguments, and legal arguments without an
explanation behind his decision. Therefore, the magistrate's decision was contrary to law by failing to
address the authority of Wiggins and Dougherty.

Additionally, after this hearing I continued my attempts to contact Ms. Williams, to no avail.
Thereby, since I still haven't had any communication with the private investigator since February of
2017, nor any communication with stand-by counsel since November of 2017, I still have no meaningful
assistance on any procedural matters to prepare for a proper defense at trial, and to locate and procure
attendance of the witnesses l intend to call for trial.

CONCLUSION

For the reasons mentioned above, I humny pray that the Court enter an order granting this
Objection to Substitute Standby Counsel. l declare under penalty of perjury under the law of the State of
Nevada that the foregoing is true and correct, and that this document is executed without the benefit of a
notary pursuant to NRS 208.165, as I arn a prisoner confined in a private prison within this state of

Nevada.

 

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Executed on March 27, 2018.

Respectfully submitted,
All Rights Reserved and Without Prejudice,
Omar Qazi

Signed: l

 

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Certificate of Service

I hereby certify that on March 27, 2018, I mailed my Obj ection to 406 Order, to the
following:

Clerk of the Court

Lloyd D. George U.S. Courthouse
333 Las Vegas Blvd. South, Rm. 1334
Las Vegas, Nevada

 

 

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